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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                             ß´»¨¿²¼®·¿
                             ______________________ DIVISION

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              vs.                                    Civil/Criminal Action No.______________
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                  FINANCIAL INTEREST DISCLOSURE STATEMENT

         Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that the following are parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public or own more than
ten percent of the stock of the following:
______________________________________________________________________________
______________________________________________________________________________

                                                Or

        Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that the following are parties in the partnerships, general
or limited, or owners or members of non-publicly traded entities such as LLCs or other closely
held entities:
______________________________________________________________________________
______________________________________________________________________________

                                                Or

         Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualifications or recusal, the undersigned counsel for
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______________________________________________________________________________
in the above captioned action, certifies that there are no parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public.

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                                                     ____________________________________
Date                                                 Signature of Attorney or Litigant
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                                                     Counsel for __________________________




Rev. 7/14/04
